Case 3:17-cv-00939-WHA Document 2693-7 Filed 01/28/19 Page 1 of 3




        EXHIBIT 9
    FILED UNDER SEAL
                  Case 3:17-cv-00939-WHA Document 2693-7 Filed 01/28/19 Page 2 of 3
                                                                                         EXECUTION VERSION


                                   OTTO TRUCKING OFFICER'S CERTIFICATE

                                                    December 22, 2016

                Reference is made to that certain Agreement and Plan of Merger, dated as of April 11, 2016, by
        and among Uber Technologies, Inc., a Delaware corporation ("Parent"), Apparate International C.V., a
        limited partnership (commanditaire vennootschap) organized under the laws of the Netherlands
        ("Purchaser"), Zing Merger Sub II, LLC, a Delaware limited liability company, Otto Trucking LLC, a
        Delaware limited liability company (the "Company"), Lior Ron, solely in his capacity as the Company
        Unitholder Representative, and, solely for purposes of Section 5.4 and 5.11, Anthony Levandowski and
        Lior Ron in their individual capacities, as amended by that certain Amendment No. 1, dated as of August
        23, 2016, by and between Purchaser and the Company (as amended, the "Merger Agreement").
        Capitalized terms used herein and not otherwise defined herein shall have the respective meanings
        ascribed to them in the Merger Agreement.
                 This Certificate is being furnished to Parent and Purchaser regarding the occurrence and
        satisfaction of the Trucking Business Commercial Launch. The undersigned, Lior Ron, President of the
        Company, hereby certifies on behalf of the Company that:

                 1.       I am the duly appointed and acting President of the Company with full right, power and
        authority to certify as to the matters set forth below. I have reviewed the Merger Agreement and have
        made, or have caused to be made, such examinations or investigations as is necessary to enable me to
        express an infonned opinion as to the matters referred to herein.

                2.      On October 20, 2016, pursuant to that certain Transportation Agreement for the provision
        of Truckload Motor Contract Carriage, dated as of August 19, 2016, by and between Ottomotto LLC and
        Anheuser-Busch, LLC ("AB"), the Company provided carrier services to AB, a third party, for the
        delivery of Budweiser beer by using a qualified autonomous Class 6 or above off-road or on-road vehicle,
        and such vehicle was driven more than ninety percent (90%) of a route that was not less than 100 miles
        over public roads without any active human intervention (other than a safety driver being present).

                  The undersigned acknowledges that Parent and Purchaser will rely on the certifications given
        herein.

                                             [SIGNATURE PAGE FOLLOWS]




HIGHLY CONFIDENTIAL- ATTORNEYS' EYES ONLY                                                                        UBER00199508
              Case 3:17-cv-00939-WHA Document 2693-7 Filed 01/28/19 Page 3 of 3



               IN WITNESS WHEREOF, the undersigned has executed this Officer's Certificate on behalf of
        the Company as of the date set forth above.

                                                            OTTO TRUCKING LLC

                                                            By=t
                                                            Name: Lior Ron
                                                            Title: President




                                                        ?




HIGHLY CONFIDENTIAL- ATTORNEYS' EYES ONLY                                                            UBER00199509
